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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                          CIVIL ACTION NO. 1:22-cv-01722-TCB

TEA WORLDWIDE INC.; 100.CO;
JAY SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.
         CERTIFICATE OF SERVICE REGARDING DISCOVERY
      Pursuant to Local Rule 5.4, the undersigned hereby certifies that on October

11, 2022, Plaintiff served on all parties of record Plaintiff’s Second, Third, Fourth,

and Fifth Document Productions.

      Respectfully submitted, this 13th day of October, 2022.

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